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IN THE UNITED STATES DISTRICT COURT }‘l-'
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION w § q psi *
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)

v. ) NO. 04-20426 B

)
NAUM BAHHUR, )
)
Defendant. )

 

ORDER

 

Bet`ore the Court is Defendant’s Motion to Allow Travel filed on March 29, 2005. United
States District Judge J. Daniel Breen referred this matter to the Magistrate Judge for
determination After consideration, the Court concludes the Motion should be GRANTED. Mr.
Bahhur Shall be required to post a $100,000.00 secured bond, and he shall be entitled to leave the
country and travel to lsrael. Mr. Bahhur may leave the United States after May lO, 2005, but he
shall be required to return to this country prior to July 20, 2005.

Pursuant to the Order of Reference, any objections to this Order shall be made in writing
Within ten days after service of this Order and shall Set forth With particularity those portions of

the Order objected to and the reasons for those objections

<g/'- /Am»¢_c @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: ??7;41./. /J,,, 250(

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 35 in
case 2:04-CR-20426 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 381 ll

Honorable J. Breen
US DISTRICT COURT

